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 1                                                                  The Honorable Franklin D. Burgess
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 8                                 UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN OF WASHINGTON
 9                                          AT TACOMA
10   UNITED STATES OF AMERICA                       )
                                                    )       NO. CR04-5460FDB
11                          Plaintiff,              )
                                                    )
12                   v.                             )       ORDER
                                                    )       CONTINUING TRIAL
13   TOBIAS GRACE, and                              )
     SCOTT LANEY,                                   )
14                                                  )
                            Defendants.             )
15                                                      )
16                                                ORDER
17             THIS MATTER COMES before the Court on the stipulation of the government and the
18   defendants Scott Laney and Tobias Grace requesting an order setting a new trial date and a new
19   pretrial motions date. Having considered the stipulation of the parties and all the files and records
20   herein,
21             THE COURT FINDS AS FOLLOWS:
22             1.    The facts and circumstances are as set forth in the Stipulation Requesting Order
23   Continuing Trial.
24             2.    Failure to grant a continuance in this case will deny counsel the reasonable time
25   necessary for effective preparation of trial and other pretrial proceedings, taking into account the
26   exercise of due diligence;
27             3.    Failure to grant a continuance would likely result in a miscarriage of justice;
28             4.    This case is unusual, and legally and factually complex given the breadth and
                                                                                     Bell Flegenheimer
                                                                                   119 First Avenue South
                                                                                   500 Maynard Building
     [PROPOSED] ORDER                                                                Seattle, WA 98104
     CONTINUING TRIAL/CR04-5460FDB - 1                                                (206) 621-8777
             Case 3:04-cr-05460-RBL           Document 95       Filed 07/15/05     Page 2 of 3



 1   complexity of the charged conspiracies, and the related pending charges against Mr. Grace in the
 2   Northern District of California; and
 3           5.    The ends of justice served by granting this continuance outweigh the best interest of
 4   the public and the defendants in a speedy trial;
 5           6.      All these findings are made within the meaning of 18 U.S.C. §3161 (h)(8)(A),
 6   (h)(8)(B)(I), (h)(8)(B)(ii), and (h)(8)(B)(iv).
 7           7.    The period of time from the current trial date of October 24, 2005 up to and
 8   including the new trial date of November 28, 2005 encompassed by the continuance shall be
 9   excluded from the computation of time under the Speedy Trial Act.
10           THE COURT THEREFORE ORDERS THAT:
11           The trial shall be continued from October 24, 2005, to November 28, 2005. Pretrial
12   motions shall be filed by September 1, 2005.
13           The defendants shall immediately file with the Court waivers of their rights under the
14   Speedy Trial Act, 18 U.S.C. § 3161 et seq., for the period from October 24, 2005, to December
15   30, 2005.
16           DATED this 15th day of July, 2005.
17
18
                                                       /s/ Franklin D Burgess
19                                                     THE HONORABLE FRANKLIN D. BURGESS
                                                       United States District Judge
20                                                     Western District of Washington
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                                                                                   Bell Flegenheimer
                                                                                 119 First Avenue South
                                                                                 500 Maynard Building
     [PROPOSED] ORDER                                                              Seattle, WA 98104
     CONTINUING TRIAL/CR04-5460FDB - 2                                              (206) 621-8777
             Case 3:04-cr-05460-RBL          Document 95        Filed 07/15/05       Page 3 of 3



 1                                     CERTIFICATE OF MAILING
 2
 3          I hereby certify that on July 20, 2005, I electronically filed the foregoing with the Clerk of
 4   the Court using the CM/ECF system which will send notification of such filing to the following:
 5
                    Annette l. Hayes
 6                  Attorney representing the United States of America
 7                  Richard J. Troberman
                    Attorney representing Scott Laney
 8
     I hereby certify that I will immediately mail by United States Postal Service this document to any
 9
     of the preceding parties who are found to be non-CM/ECF participants.
10
11
                                           /s/ Ann Eldore
12                                         Ann Eldore
                                           Legal Assistant
13                                         Bell Flegenheimer
                                           119 First Ave. S., # 500
14                                         Seattle, WA 98104
                                           206/621-8777
15                                         206/621-1256 fax
                                           Aeldore@yahoo.com
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                                                                                    Bell Flegenheimer
                                                                                  119 First Avenue South
                                                                                  500 Maynard Building
     [PROPOSED] ORDER                                                               Seattle, WA 98104
     CONTINUING TRIAL/CR04-5460FDB - 3                                               (206) 621-8777
